       Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 1 of 7 PageID #:1




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ISABELLE BLASDEL,                                       )
                                                        )
                Plaintiff,                              )
                                                        )
        v.                                              )       No.
                                                        )
NORTHWESTERN UNIVERSITY,                                )
                                                        )       JURY TRIAL DEMANDED
                Defendant.                              )

                                            COMPLAINT

        COMES NOW Plaintiff, ISABELLE BLASDEL, by and through her attorneys, and

complaining of Defendant, NORTHWESTERN UNIVERSITY, respectfully submits the

following:

                                          JURISDICTION

        1.      This is an action brought pursuant to Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e. et. seq.; jurisdiction is proper under 28 U.S.C. §§ 1331 and 1343.

        2.      Plaintiff has complied with all administrative prerequisites by filing a timely

Charge of Discrimination with the U.S. Equal Employment Opportunity Commission (“EEOC”),

a true copy of which is attached as Exhibit A; the EEOC has issued Plaintiff a Notice of Right to

Sue, a true copy of which is attached as Exhibit B.

                                               VENUE

        3.      This action properly lies in this district pursuant to 28 U.S.C. § 1391 because the

events giving rise to this claim occurred in this judicial district.
       Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 2 of 7 PageID #:2




                                             PARTIES

       4.      Plaintiff, ISABELLE BLASDEL (“Blasdel”), is a female citizen and resident of

Illinois, who was formerly employed by Defendant.

       5.      Defendant, NORTHWESTERN UNIVERSITY, is a corporation duly organized

and existing under the laws of the State of Illinois, with its principal place of business in

Evanston, Illinois; at all relevant times, Defendant was an employer within the meaning of Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.

                                   FACTUAL ALLEGATIONS

       6.      In 2002, while Blasdel was employed as Assistant Professor of Pharmacology at

Boston University, she was recruited by Defendant’s Department of Physiology of The Feinberg

Medical School of Northwestern University.

       7.      In order to convince Blasdel to leave her position at Boston University Medical

School (“BUMS”), Defendant made a number of promises to Blasdel about her working

conditions and the opportunities she would be given if she came to work for Defendant.

       8.      One of the promises Defendant made to Blasdel was that she would be a member

of the Udall Center for Parkinson’s Disease Research (“Udall Center”).

       9.      Blasdel made the move based on these representations and because she welcomed

the opportunity to explore and develop the clinical relevance of her work for Parkinson’s

Disease.

       10.     Blasdel accepted Defendant’s offer of an initial faculty appointment at the rank of

Assistant Professor in the Department of Physiology on the Investigator career track.

       11.     It was agreed that Blasdel would have six years to be considered for tenure.

       12.     Blasdel began her employment with Defendant on or about March 1, 2003.



                                                  2
         Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 3 of 7 PageID #:3




         13.    Blasdel was the only female faculty member in the Department of Physiology.

         14.    Just months after she began her employment with Defendant, in July 2003,

Blasdel was informed by her Department Chair that she would not be an Assistant Professor;

rather, she would be an Associate Professor. Defendant further informed Blasdel that she would

not have 6 years to develop her work before she would be considered for tenure; rather, she

would only have 3 years before she would be evaluated for tenure. Subsequently, it was decided

that Blasdel would be evaluated for tenure after 4 years with Defendant.

         15.    Defendant did not follow its own guidelines in setting the timing for Blasdel’s

tenure evaluation.

         16.    Meanwhile, male colleagues of Blasdel who were hired as Assistant Professors

into the Department of Physiology a few months prior to Blasdel who were initially given six

years within which to be evaluated for tenure received unsolicited extensions to a nine year time

frame.

         17.    In addition, Defendant treated Blasdel differently and less favorably than her male

colleagues with respect to the terms and conditions of her employment in a manner that was

detrimental to Blasdel’s career development.

         18.    By example, Defendant presented Blasdel with significant obstacles to her

research development. On February 1, 2004, as Blasdel was about to submit her application for

Udall grant supplemental funds, she was told by her Department Chair that she should not send it

in. By September 2004, Blasdel was no longer invited to participate in the scientific work of the

Udall Center and was no longer in the position to apply for the Udall funds. By the Spring of

2005, Blasdel learned that she would not even be permitted to participate in further Udall Center

meetings.



                                                 3
       Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 4 of 7 PageID #:4




          19.   These unexpected obstacles related to Blasdel’s research career development

required her to devote time to reorienting her research program to address issues in drug

addiction since her original plan to focus on Parkinsonism had encountered unanticipated

obstacles.

          20.   In contrast, a male hired as an Assistant Professor a couple of months prior to

Blasdel was given all the support he needed – funding, a new lab, students and post-graduate

trainees – to achieve tenure status.

          21.   Throughout her employment, Blasdel was the only female faculty member in the

Department of Physiology on a tenure track position, and her scientific and academic credentials

matched or exceeded those of recently tenured male colleagues.

          22.   In June 2007, Blasdel learned that she was denied tenure. The 2007-08 academic

year was therefore Blasdel’s terminal year, and she was terminated effective on or about August

31, 2008.

          23.   In over 100 years of the Department’s existence, no females have ever been

granted tenure in the Department of Physiology.



                                            COUNT I

                         DISCRIMINATION IN VIOLATION OF
                     TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

          24.   Blasdel realleges paragraphs 1 through 23 and incorporates them as fully set forth

herein.

          25.   Title VII makes it unlawful for an employer to discriminate against any individual

with regard to her terms, conditions, or privileges of employment, because of such individual’s

sex. Further, it is a violation of Title VII to limit or segregate employees in any way that would

                                                 4
       Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 5 of 7 PageID #:5




deprive or tend to deprive any individual of employment opportunities or otherwise adversely

affect her status as an employee because of such individual’s sex.

          26.   By its conduct as alleged herein, Defendant discriminated against Blasdel in

violation of Title VII.

          27.   Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless disregard

of Plaintiff’s rights under Title VII.

          28.   By reason of Defendant’s discrimination, Blasdel suffered severe harm, and is

entitled to all legal and equitable remedies available under Title VII.



                                             COUNT II

FAILURE TO GRANT TENURE AND RESULTING DISCHARGE IN VIOLATION OF
             TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

          29.   Blasdel realleges paragraphs 1 through 23 and incorporates them as fully set forth

herein.

          30.   Title VII makes it unlawful for an employer to make employment decisions

because of an individual’s sex.

          31.   By its conduct as alleged herein, Defendant discriminated against Blasdel in

violation of Title VII.

          32.   Defendant’s conduct toward Blasdel illustrated a willful and/or reckless disregard

of Blasdel’s rights under Title VII.

          33.   By reason of Defendant’s discrimination, Blasdel suffered severe harm, and is

entitled to all legal and equitable remedies available under Title VII.



                                         RELIEF REQUESTED

                                                 5
      Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 6 of 7 PageID #:6




       WHEREFORE, Plaintiff respectfully requests that this Honorable Court find in her favor

and against Defendant as follows:

       a.      Declare Defendant’s conduct unlawful in violation of Title VII;

       b.      Award Plaintiff the value of all compensation and benefits lost as a result of

Defendant’s unlawful conduct;

       c.      Order Defendant to reinstate Plaintiff to a position she would have had absent the

discrimination; or, in the alternative, award Plaintiff the value of compensation and benefits she

will lose in the future as a result of Defendant’s unlawful conduct;

       d.      Award Plaintiff any and all applicable compensatory and punitive damages;

       e.      Award Plaintiff reasonable attorneys’ fees, costs and disbursements;

       f.      Award pre-judgment interest; and

       f.      Award Plaintiff any and all other such relief as the Court deems just and proper.



                                         JURY DEMAND

       Plaintiff demands trial by jury on all claims triable of right to a jury.



                                               Respectfully submitted,



                                               __/s/ Lori D. Ecker_____
                                               Attorney for Plaintiff

Lori D. Ecker
Law Office of Lori D. Ecker
120 N. LaSalle St., Ste. 1050
Chicago, IL 60602
312/855-1880
loriecker@ameritech.net
Registration No. 6183063

                                                  6
      Case: 1:09-cv-05576 Document #: 1 Filed: 09/09/09 Page 7 of 7 PageID #:7




M. Megan O’Malley
O’Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, IL 60605
312/697-1382
office@ompclaw.com




                                         7
